                Case 4:13-cr-00121-LGW-CLR Document 391 Filed 10/08/15 Page 1 of 1
AO 2,17(Rev. ll/11) OrderRegarding                        Pursuant
                                                  Reduotion
                                 Motionfor Sentence             to l8 U.S.C.S 3582(cX2)                Pagelof2          for PublicDisclosure)



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                                                                  for the
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                                                      SouthemDistrictof Georgia
                                                         Savannah Division                         .1 trDk

                 UnitedStatesof America

                                                                         CaseNo:        4:13CR00121-2
                       RobertoBaxrero
                                                                         USMNo: 18164-021
Dateof OriginalJudgment:        Ieq!qv4,?q4
Dateof Pr0viousArnendedJudgment:                                         JoshuaSabertLolTther
(IJseDate oflast AmendedJ dgnent ifAny)                                  Defekdant's
                                                                                   Attorney


                ORDER REGARDING MOTION FOR SENTENCEREDUCTION
                                       PIIRSUANTTo 18U.S.C.$ 3s82(c)(2)
        Uponmotionof E the defendant a tlie Directorofthe BureauofPrisons . thecout under18U.S.C.
0 3582(cX?)for a reductionin thetermof imprisonment  imposedbasedon a guidelinesentencing    rangethathas
iubsequenilvbeenloweredandmaderetroactiveby theUnitedStates        Sentencing Commission pursuant to 28 U.S.C.
g 994(u),{nd havingconsidered  suchmotion,andtakinginto accountthe policystatement    set_forth
                                                                                              at USSG  $ lB1.l0
and the           factorssetforth in 18 U.S.C.$ 3553(a),to the extentthatthey areapplicable,
                     thatthemotionis:
                                                                                      (asrclected
                                                                        of imprisonment
                                                previouslyimposedsentence
          tr DENIED, tr GRANTEDandthe defendant's                                               in
the tastjudgmentissue{ of                    months is reducedto
                                          (Conplete Pafis I and II of Page 2 when motion is granted)




Exceptasotherwiseprovided,all provisionsof thejudgmentdated
IT IS SO ORDERED.

OrderDate:             -
                   tPlEls                                                                              s srghatute


                                                                DudleyH.
EffectiveDate: -, Noveryler1,2015                               United States- istriclJudge
                   (if differentfrom order date)                                         Prlntednameand title
